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                                   STATEMENT OF FACTS

        Your affiant, Tricia Whitehill, is a Special Agent with the Federal Bureau of Investigation
(FBI), currently assigned to the Minneapolis Division-Rochester, Minnesota Resident Agency. In
my duties as a Special Agent, I investigate domestic terrorism violations and other threats of
violent crime. Currently, I am tasked with investigating criminal activity in and around the United
States Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

               Evidence Linking VICTORIA WHITE to Assault on the U.S. Capitol

        On or about January 10, 2021, the FBI received an anonymous tip, which identified
Victoria White (“WHITE”) as being involved in the U.S. Capitol riot on January 6, 2021. The tip
asserted that WHITE was using a Facebook page under the name “Janice Marie Evans,” which
included photos and postings displaying WHITE’s conduct at the U.S. Capitol on January 6, 2021.
Law enforcement subsequently determined that the Facebook page under the name “Janice Marie
Evans” was registered on or about November 4, 2020, using a phone number subscribed to
WHITE’s address in Rochester, Minnesota, to an individual known to law enforcement who
resides at WHITE’s address in Rochester, Minnesota.

       Law enforcement reviewed the “Janice Marie Evans” Facebook page. The name “Victoria
White” appeared in parentheses under the name “Janice Marie Evans,” along with a profile photo
containing five individuals, one of which was subsequently identified as WHITE. The photo
appears to have been taken at the rally for President Trump, which occurred in the morning of
January 6, 2021. WHITE is seen wearing a red baseball cap and a black coat. A screenshot is
shown below, with WHITE circled in red:




         Additionally, law enforcement observed several Facebook posts and photos purportedly
posted by WHITE implicating her involvement in the Capitol riot. For example, on or about
January 7, 2021, WHITE posted the following comment:

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               A friend said Delete FB stuff. . . . I stated I’m not scared i was in
               the capitol DETAINED and they took my social security # name
               address they are coming for me. I am not afraid of them or anyone!!
               There I said it Come get me, You don’t know the story, it’s not what
               you think.

        Law enforcement reviewed additional information on social media and the Internet, which
further implicated WHITE’s involvement in the Capitol riot on January 6, 2021. For example, on
or about January 7, 2021, The Black Conservative Preacher posted a video on its YouTube channel
that showed Capitol rioters attempting to smash the glass over an entrance to the Capitol building
near the lower west terrace. See “WE ARE NOT TIFA! / THE STORM ARRIVED PT. 1” (posted
Jan. 7, 2021) (available at https://www.youtube.com/watch?v=w-ySG-qhmEQ). In the video,
beginning at approximately the :30 mark, an individual who appears to be WHITE (wearing the
same red cap and black coat as seen on WHITE’s Facebook page) is seen arguing with other rioters
who were attempting to break the glass. In the video, WHITE can be heard yelling at the
individuals attempting to break the glass and she physically attempts to pull them away from the
glass. A sample of screenshots from that video are shown below. WHITE is circled in red.




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        In another YouTube video posted by The Black Conservative Preacher, beginning at
approximately the :20 mark, WHITE can be seen pushing her way towards the tunnel entrance of
the lower west terrace, where there was a squad of Metropolitan Police (“MPD”) officers
preventing the rioters from entering. At around this time, the rioters can be heard chanting, “PULL
THE COPS OUT! PULL THE COPS OUT!” See “THAT’S ONE BIG FLAG! / THE STORM
ARRIVED           PT.       7”        (posted       Jan.      8,       2021)       (available     at
https://www.youtube.com/watch?v=NUoBiRXZs5Q). At approximately the :48 mark, WHITE is
seen raising her fist and cheering as the rioters force a large flagpole into the entranceway where
the MPD officers are standing guard. At approximately the 2:18 mark, after WHITE has pushed
her way closer to the entrance, she helps hoist up another rioter, who then makes his way to the
entrance and proceeds to assault the MPD officers. WHITE is seen pointing and cheering as the
rioter swings from the top of the entranceway and kicks the MPD officers. As the video progresses,
WHITE is seen moving closer to the entranceway. A sample of screenshots from that video are
shown below. WHITE is circled in red.




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        During its investigation, law enforcement obtained publicly available photographs taken
by a professional photographer known to law enforcement from outside the lower west terrace that
show from a different angle WHITE making her way towards the entrance. A sampling of those
photos is below. WHITE is circled in red.




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         Law enforcement also collected and reviewed video provided by the U.S. Capitol Police,
which includes security camera footage inside and outside the of the U.S. Capitol building. While
reviewing this footage, your affiant observed that at approximately 4:05 p.m., an individual who
appears to be WHITE made her way to the front of the lower west terrace entranceway up against
the riot shields of the MPD officers. By approximately 4:06 p.m., WHITE made her way into the
lower west terrace of the U.S. Capitol building. By approximately 4:07 p.m., WHITE’s red cap
had fallen off, she lost her black coat, and she can be seen inside the entranceway grabbing for one
of the MPD officers standing on a ledge. As the video progresses, the MPD officers attempt to
push WHITE back with their riot shields and fend her off with a baton. WHITE is seen in a red
sweater, and it appears that she is attempting to grab a shield and uses her hand to block the baton.
A sampling of screenshots from the security video are shown below. WHITE is circled in red.




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        At approximately 4:11 p.m., officers apprehended WHITE, placed her in zip-tie handcuffs,
escorted her through the Capitol building into a police vehicle, and transported her to a police
station to process her arrest. During processing, WHITE confirmed her identity as Victoria White
from Rochester, Minnesota. WHITE was released later that evening without any charges filed.
As seen in the screenshot below, WHITE had lost her red cap and black coat while making her
way into the Capitol building.




        Law enforcement obtained Minnesota driver’s license records for VICTORIA WHITE.
WHITE is described as a white female from Rochester, Minnesota. Additionally, her driver’s
license photo appears to be the same WHITE that is observed on the “Janice Marie Evans”
Facebook page and in the photos and videos taken from the Capitol building on January 6, 2021.

        In the days following January 6, 2021, WHITE continued to post comments and links about
the riot on her Facebook page. On or about January 8, 2021, WHITE posted a link to
libertyroundtable.com, which contained an audio interview conducted by Sam Bushman of a
woman who is initially introduced under the pseudonym “Jane.” However, the woman corrects
Bushman and identifies herself as “Victoria.” See Liberty Round Table, Radio Show Hour 1 (Jan.
8, 2021) (available at https://www.libertyroundtable.com/liberty-roundtable/?_page=13). Based
on the fact that WHITE posted this link to her Facebook page, and the woman’s name is Victoria,
your affiant asserts that the woman in the recording is in fact WHITE. Another participant on the
podcast explained that WHITE “personally stopped Q, Antifa, BLM members from breaking into
the White House, breaking glass. There’s video of it.” During the interview, WHITE described
her confrontation with the rioters attempting to break the glass, and then states:

              So they’re pushing to like get in, which I confess, I admit, I was
              pushing to get in because I’m assuming it’s just another doorway to
              go up to the next level . . . . But this doorway, there’s police there


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              and they’re spraying mace . . . As I get closer my shoes fall off and
              my coat was like around my waist and came off and my coat had my
              cell phone. It had my driver’s license . . . . And I’m getting beat in
              the head with a metal baton by the police and I’m getting massively
              sprayed with pepper spray by the police. And next thing I know,
              I’m in the police being like pushed backwards like ping pong of sorts
              and the next thing I know I’m in the State Capitol.

        Similarly, your affiant viewed a YouTube video in which WHITE is seen along with three
other individuals speaking to a group about her experiences at the Capitol building on January 6,
2021. See “Part 2 of What happened on our trip..” (posted Jan. 10, 2021) (available at
https://www.youtube.com/watch?v=zEny-m_sJi4). In the video, WHITE states, in part, the
following:

              I see everyone trying to push in this doorway and I’m thinking it’s
              another doorway to either get . . . so there’s layers or tiers or
              something. . . . . There were some patriots up there and there were
              some kind of security or something behind them. I’m thinking we
              go up these stairs or . . . get in this doorway to go up there. There’s
              some police there or some kind of guards, I’m thinking one or two,
              and they’re just blocking the door and they’re pepper spraying.

                                               ....

              Anyway, next think I know, we’re all pushing, everyone’s pushing
              to try to go to the next level, or so I assumed the next level. . . . So
              the doorway, people are trying to get through or push through. But
              when they are pushing, you have to understand, it’s like a mass of
              people. A lot of people crammed together and ya know the police
              are right there and they were like spraying everyone like macing
              them. And then I look at a police officer and I’m like, you took an
              oath to the Constitution, and apparently that didn’t sit so well with
              him, and he decided to hit me really hard on the head with a metal
              baton. And then the next thing I know there’s more hits coming,
              more mace coming at us, everyone there, and as they’re pushing, I
              end up going like into the police, which is kinda weird, and then the
              police push me back, and then it’s like I get ping ponged back. I
              don’t even know how to explain it, like it pushed back, ping ponged
              back. And I end up in the Capitol, inside the Capitol. And an officer
              had me put my hands behind my back, and he handed me off to
              someone else and off to someone else.

      Based on the aforementioned evidence, there is probable cause to believe VICTORIA
WHITE was present on U.S. Capitol grounds, forced her way into the lower west terrace tunnel of
the U.S. Capitol building, and committed related offenses, including the obstruction of



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Congressional proceedings at the U.S. Capitol building, located at First Street, NW, Washington,
D.C. 20510 on January 6, 2021.

         Therefore, your affiant submits that there is probable cause to believe that WHITE violated
18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do so; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; or attempts or conspires to do so. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that WHITE violated 40 U.S.C.
§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

        Your affiant submits there is also probable cause to believe that WHITE violated 18 U.S.C.
§ 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For the purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.




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        Finally, your affiant submits there is probable cause to believe that WHITE violated 18 U.S.C.
§ 1512(c)(2), which makes it a crime to obstruct, influence, or impede any official proceeding, or
attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official proceedings.




                                                     w~
                                                      Tricia Whitehill
                                                      Special Agent, FBI

Attested to by the applicant in accordance with the requirements   of Fed. R. Crim. P. 4.1 by
telephone, this 7th day of April 2021.
                                                                              2021.04.07
                                                                              15:32:16 -04'00'
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE        runGE




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